           Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 1 of 7



1

2

3

4

5

6

7

8                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
9                                    AT SEATTLE

10
     THE HUMAN RIGHTS DEFENSE
11   CENTER and MICHELLE DILLON,                        No.

12                          Plaintiffs,                 COMPLAINT

13           v.

14   U.S. DEPARTMENT OF HEALTH AND
     HUMAN SERVICES, ADMINISTRATION
15   FOR CHILDREN AND FAMILIES, and
     OFFICE OF REFUGEE RESETTLEMENT,
16
                            Defendants.
17

18          1.      This lawsuit is an action under the Freedom of Information Act, 5 U.S.C.
19   § 552, et seq., seeking production of records responsive to requests submitted by
20   Ms. Michelle Dillon, an employee of the Human Rights Defense Center, to the U.S.
21   Department of Health and Human Services and to the Office of Refugee Resettlement, an
22   office within the Administration for Children and Families.
23                                JURISDICTION AND VENUE
24          2.      This Court has both subject matter jurisdiction over this action and personal
25   jurisdiction over the defendants under 5 U.S.C. §§ 552(a)(4)(B) and 2201(a).
26


      COMPLAINT – Page 1
                                                                           1420 FIFTH AVENUE, SUITE 1400
                                                                             SEATTLE W ASHINGTON 98101
                                                                            T 206.516.3800 F 206.516.3888
            Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 2 of 7



1           3.      Venue is appropriate in this Court under 5 U.S.C. § 552(a)(4)(B).

2    Intradistrict assignment to the Seattle Division of the Western District of Washington is

3    appropriate under LCR 3(e)(1) because the claims asserted herein arose in King County.

4                                               PARTIES
5           4.      Plaintiff Human Rights Defense Center is a non-profit organization that

6    advocates on behalf of the human rights of people held in U.S. detention facilities. Its

7    advocacy efforts include publishing Prison Legal News, a 72-page monthly publication that

8    covers prison-related news and litigation nationwide, and Criminal Legal News, a monthly

9    publication that covers the criminal justice system beyond incarceration. The Human Rights

10   Defense Center also publishes and distributes self-help reference books for prisoners, and

11   engages in litigation, media campaigns and outreach, public speaking and education, and

12   testimony before legislative and regulatory bodies.

13          5.      Plaintiff Michelle Dillon resides in the Western District of Washington. She

14   is an employee of the Human Rights Defense Center in its Seattle office.

15          6.      Defendant U.S. Department of Health of Human Services is a department

16   of the executive branch of the U.S. government and is an agency within the meaning of

17   5 U.S.C. § 552(f)(1) and 5 U.S.C. § 701.

18          7.      Defendant Administration for Children and Families is a division of the U.S.

19   Department of Health of Human Services and is an agency under 5 U.S.C. § 552(f)(1) and

20   5 U.S.C. § 701.

21          8.      Defendant Office of Refugee Resettlement is an office of the U.S.

22   Department of Health of Human Services and is an agency under 5 U.S.C. § 552(f)(1) and

23   5 U.S.C. § 701.

24

25

26


      COMPLAINT – Page 2
                                                                            1420 FIFTH AVENUE, SUITE 1400
                                                                              SEATTLE W ASHINGTON 98101
                                                                             T 206.516.3800 F 206.516.3888
            Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 3 of 7



1                                              FACTS

2                   Human Rights Defense Center’s Background and Mission

3           9.      The Human Rights Defense Center was founded in 1990. It is dedicated to

4    public education, prisoner education, advocacy, and outreach to support the rights of

5    prisoners and to further basic human rights.

6           10.     The Human Rights Defense Center’s publishing project distributes books to

7    prisoners and other customers. It also publishes two monthly magazines, Criminal Legal

8    News and Prison Legal News.

9           11.     In addition to publishing, the Human Rights Defense Center engages in

10   advocacy and education.

11          12.     Prior to a 2009 name change, the entire organization was known as

12   Prisoners’ Legal News.

13                       U.S. Department of Health and Human Services

14          13.     The U.S. Department of Health and Human Services (“HHS”) has a mission

15   to enhance and protect the health and well-being of all Americans.

16                            Administration for Children and Families

17          14.     The Administration for Children and Families is a division within HHS.

18                                 Office of Refugee Resettlement

19          15.     The Office of Refugee Resettlement (“ORR”) is an office within the

20   Administration for Children and Families.

21          16.     ORR has responsibility for non-citizen children who arrive in the United

22   States unaccompanied.

23          17.     ORR also takes responsibility for non-citizen children who have been

24   forcibly separated from the adults with whom they arrived in the United States.

25          18.     The mistreatment of these children has been widely covered in the media.

26   For example:


      COMPLAINT – Page 3
                                                                          1420 FIFTH AVENUE, SUITE 1400
                                                                            SEATTLE W ASHINGTON 98101
                                                                           T 206.516.3800 F 206.516.3888
            Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 4 of 7



1                         •   Ginger Thompson, Listen to Children Who’ve Just Been Separated

2                             From Their Parents at the Border,

3                             https://www.propublica.org/article/children-separated-from-parents-

4                             border-patrol-cbp-trump-immigration-policy;

5                         •   NBC29, Young Immigrants Detained in Shenandoah Valley Juvenile

6                             Center Allege Abuse, http://www.nbc29.com/story/38475890/young-

7                             immigrants-detained-in-virginia-center-allege-abuse;

8                         •   Bree Burkitt, Ex-Migrant Shelter Employee Found Guilty of

9                             Molesting Unaccompanied Minors,

10                            https://www.usatoday.com/story/news/nation-

11                            now/2018/09/11/southwest-key-worker-convicted-abusing-minors-

12                            arizona-migrant-shelter/1267100002/.

13           19.     Because of the widespread concern, the Human Rights Defense Center is

14   interested in documents regarding the potential ill treatment of children and other civil

15   rights violations.

16                               The Requests for Information at Issue
17           20.     On August 20, 2018, Ms. Dillon sent a request via web portal to HHS for

18   certain records related to litigation that the agency has resolved.

19           21.     On behalf of the Human Rights Defense Center, Ms. Dillon requested

20   records regarding litigation against HHS and its employees or agents created since

21   January 1, 2010. She limited her request to claims and cases in which the government paid

22   $1,000 or more.

23           22.     In each case or claim described above, she asked to be provided:

24                   •        The Complaint or Claim Form and any amended versions;

25                   •        The Verdict Form, Final Judgment, Settlement Agreement, Consent

26                            Decree, or other paper that resolved the case;


      COMPLAINT – Page 4
                                                                               1420 FIFTH AVENUE, SUITE 1400
                                                                                 SEATTLE W ASHINGTON 98101
                                                                                T 206.516.3800 F 206.516.3888
             Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 5 of 7



1                   •       A record that shows the amount of money involved in the resolution

2                           and to whom it was paid.

3            23.    Ms. Dillon also requested a fee waiver under 5 U.S.C. §§ 552(a)(4)(A)(ii)(II)

4    and (iii).

5            24.    Via immediate acknowledgement email, HHS informed Ms. Dillon that her

6    request was assigned Request Number 2018-01423-FOIA-OS.

7            25.    Although HHS did not ever invoke the agency’s right to ten-day extension

8    under 5 U.S.C. § 552(a)(6)(B), as of the date of this filing, HHS’s web portal simply shows

9    that this request is “Assigned for Processing.”

10           26.    As of the date of this filing, HHS has not provided any further response.

11           27.    Also, on August 20, 2018, Ms. Dillon sent a request to the Office of Refugee

12   Resettlement of the Administration for Children and Families via email address

13   FOIA@acf.hhs.gov requesting all emails, including attachments, sent from ORR-authorized

14   care providers which include a Sexual Abuse/Significant Incident Report (SA/SIR) since

15   January 1, 2015 to any of the following email addresses:

16                  •       VCACU_ORR_Reporting@ic.fbi.gov

17                  •       UAC@oig.hhs.gov

18                  •       PSAC@acf.hhs.gov

19                  •       Hotline@oig@dhs.gov

20                  •       CRCLCompliance@hq.dhs.gov

21                  •       ERO.SexualAssault@ice.dhs.gov

22                  •       PDOTASKING@cbp.dhs.gov

23           28.    Ms. Dillon also requested a fee waiver under 5 U.S.C. §§ 552(a)(4)(A)(ii)(II)

24   and (iii).

25           29.    As of the date of this filing, no response of any kind has been received.

26


      COMPLAINT – Page 5
                                                                           1420 FIFTH AVENUE, SUITE 1400
                                                                             SEATTLE W ASHINGTON 98101
                                                                            T 206.516.3800 F 206.516.3888
            Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 6 of 7



1           30.     Per 5 U.S.C. § 552(a)(6)(A)(ii), any agency has twenty working days to

2    provide documents in response to a FOIA request.

3           31.     For both requests, this period expired on September 18, 2018.

4
               THE HUMAN RIGHTS DEFENSE CENTER AND MS. DILLON’S
5                            CLAIMS FOR RELIEF

6                                           COUNT I:
                    Violation of the Freedom of Information Act, 5 U.S.C. § 552
7

8           32.     This claim incorporates paragraphs 1 – 30 by reference.

9           33.     HHS, The Administration for Children and Families, and ORR wrongly

10   withheld documents responsive to the properly submitted requests.

11          34.     The Human Rights Defense Center and Ms. Dillon have a statutory right to

12   all the records sought, and there is no basis to withhold them.

13          35.     By failing to release all the records specifically requested, HHS, The

14   Administration for Children and Families, and ORR have violated the Freedom of

15   Information Act.

16                                         COUNT II:
               Violation of the Freedom of Information Act Fee Waiver Provisions
17

18          36.     This claim incorporates paragraphs 1 – 30 by reference.

19          37.     HHS, The Administration for Children and Families, and ORR wrongly did

20   not grant Ms. Dillon’s request for a full fee waiver.

21          38.     The Human Rights Defense Center and Ms. Dillon have a statutory right to a

22   full fee waiver.

23          39.     By failing to grant a fee waiver, HHS, The Administration for Children and

24   Families, and ORR have violated the Freedom of Information Act.

25

26


      COMPLAINT – Page 6
                                                                           1420 FIFTH AVENUE, SUITE 1400
                                                                             SEATTLE W ASHINGTON 98101
                                                                            T 206.516.3800 F 206.516.3888
                    Case 2:18-cv-01442-JLR Document 1 Filed 10/01/18 Page 7 of 7



1                                                 REQUESTED RELIEF
2                    The Human Rights Defense Center and Ms. Dillon therefore respectfully request

3         that this Court:

4                    1.        Declare that the records they seek are subject to disclosure under the

5         Freedom of Information Act;

6                    2.        Declare that they are entitled to a full fee waiver;

7                    3.        Order HHS, The Administration for Families and Children, and ORR to

8         disclose the requested records;

9                    4.        Award costs and attorneys’ fees under 5 U.S.C. § 552(a)(4)(E); and

10                   5.        Grant such other relief as the Court may consider just and proper.

11

12                   Dated: October 1, 2018.

13                                                            Respectfully submitted,

14                                                            YARMUTH WILSDON PLLC

15                                                            By: s/Jeremy E. Roller
                                                              Jeremy E. Roller, WSBA #32021
16                                                            1420 Fifth Avenue, Suite 1400
                                                              Seattle, WA 98101
17
                                                              Telephone (206) 516-3800
18                                                            Fax (206) 516-3888
                                                              jroller@yarmuth.com
19
                                                              Deborah M. Golden (pro hac vice application
20                                                               to be filed)
                                                              Human Rights Defense Center
21                                                            316 F Street, NE #107
                                                              Washington, DC 20002
22                                                            Telephone (202) 543-8100
                                                              dgolden@humanrightsdefensecenter.org
23
                                                              Attorneys for Plaintiffs The Human Rights
24                                                            Defense Center and Michelle Dillon
25

26


           COMPLAINT – Page 7
                                                                                        1420 FIFTH AVENUE, SUITE 1400
                                                                                          SEATTLE W ASHINGTON 98101
                                                                                         T 206.516.3800 F 206.516.3888

     999.21 sj011501 10/1/18
